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 Civil Action No. 3:22-cv-02302-RS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

          ✔
          u Other (specify):       I served the summons by Certified First Class Mail with Retrurn Receipt Requested on
                                   April 15, 2022. The proof of delivery is attached hereto.



           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:          05/02/2022
                                                                                            Server’s signature

                                                                                  Ana Boyd, Research Analyst
                                                                                        Printed name and title

                                                                                          Sierra Club
                                                                                   2101 Webster St., Ste. 1300
                                                                                      Oakland, CA 94612
                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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